Case 08-14631-GMB   Doc 462    Filed 07/01/08 Entered 07/01/08 17:07:02   Desc Main
                              Document     Page 1 of 6
Case 08-14631-GMB   Doc 462    Filed 07/01/08 Entered 07/01/08 17:07:02   Desc Main
                              Document     Page 2 of 6
Case 08-14631-GMB   Doc 462    Filed 07/01/08 Entered 07/01/08 17:07:02   Desc Main
                              Document     Page 3 of 6
Case 08-14631-GMB   Doc 462    Filed 07/01/08 Entered 07/01/08 17:07:02   Desc Main
                              Document     Page 4 of 6
Case 08-14631-GMB   Doc 462    Filed 07/01/08 Entered 07/01/08 17:07:02   Desc Main
                              Document     Page 5 of 6
Case 08-14631-GMB   Doc 462    Filed 07/01/08 Entered 07/01/08 17:07:02   Desc Main
                              Document     Page 6 of 6
